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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                            Case No. 3:23-cr-88/MCR-07

JEFFREY PURIFOY,

     Defendant.
_____________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, JEFFREY PURIFOY, to Counts One and Two of the superseding

indictment is hereby ACCEPTED. All parties will appear before this Court for

sentencing as directed.

      DONE and ORDERED this 16th day of August 2024.

                              M. Casey Rodgers
                              M. CASEY RODGERS
                              UNITED STATES DISTRICT JUDGE
